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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


    In re:                                                  Chapter 7

    AKORN HOLDING COMPANY LLC, et                           Case No. 23-10253 (KBO)
    al.1
                                                            (Jointly Administered)
                              Debtors.
                                                            Related Doc. Nos. 106, 137


             NOTICE OF SALE OF ASSETS, AUCTION, AND SALE HEARING

PLEASE TAKE NOTICE OF THE FOLLOWING:

       1.      On April 28, 2023, the United States Bankruptcy Court for the District of
Delaware (the “Court”) entered an Order Granting the Trustee’s Motion for Entry of an Order
(A) Approving Bidding Procedures in Connection With Sale of Substantially All of the Estates’
Assets, (B) Scheduling an Auction and Hearing to Consider the Proposed Sale and (C)
Approving the Form and Manner of Notice Thereof [Doc. No. 137] (the “Bidding Procedures
Order”), which, among other things, establishes bidding procedures (the “Bidding Procedures”)
that govern the manner in which all or substantially all of the assets (the “Purchased Assets”) of
the above-captioned debtors (the “Debtors”) are to be sold. All capitalized terms used but not
defined herein shall have the meanings assigned to them in the Bidding Procedures Order. A
copy of the Bidding Procedures is being served on you concurrently with this Notice.

       2.     All interested parties are invited to make offers to purchase all or some portion of
the Purchased Assets, in accordance with the terms and conditions of the Bidding Procedures.

        3.     Pursuant to the Bidding Procedures, in the event that the Trustee timely receives
more than one Qualified Bid (as defined in the Bidding Procedures) the Trustee will conduct an
auction for the Purchased Assets (the “Auction”) commencing on May 10, 2023 at 10:00 a.m.
(ET), and, as may be necessary, continuing through and including May 12, 2023, at the
offices of Cozen O’Connor, One Liberty Place, 1650 Market Street, Suite 2800, Philadelphia, PA
19103, or such later time or other place or manner as the Trustee shall notify all Qualified
Bidders.

       4.     Participation at the Auction is subject to the Bidding Procedures and the Bidding
Procedures Order. Any person wishing to participate in the Bidding Process must become a
“Qualified Bidder.” The procedures for becoming a Qualified Bidder are contained in the
Bidding Procedures. A Potential Bidder that desires to make a Bid must deliver written copies of

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 The Debtors in these chapter 7 cases, along with the last four digits of their federal tax identification numbers, and
cases numbers are Akorn Holding Company LLC (9190), Case No. 23-10253 (KBO); Akorn Intermediate Company
LLC (6123), Case No. 23-10254 (KBO); and Akorn Operating Company LLC (6184), Case No. 23- 10255. The
Debtors’ headquarters is located at 5605 CenterPoint Court, Gurnee, IL 60031.

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its Bid, via electronic mail, hand delivery or overnight mail, to: (i) the Trustee, care of his
counsel, Cozen O’Connor, 1201 N. Market St., Ste. 1001, Wilmington, DE 19801, Attn. John T.
Carroll, III, Esq. (jcarroll@cozen.com) and Simon Fraser, Esq. (sfraser@cozen.com); (ii)
MidCap Funding IV Trust, care of its counsel, Proskauer Rose LLP, One International Place,
Boston, MA 02110, Attn: Charles A. Dale, Esq. (cdale@proskauer.com); (iii) WSFS Institutional
Services, care of its counsel, Wilmer Cutler Pickering Hale and Dorr LLP, 7 World Trade Center,
250 Greenwich Street, New York, NY 10007, Attn: Andrew N. Goldman, Esq.
(andrew.goldman@wilmerhale.com)              and       Nathan        J.       Moore,        Esq.
(nathan.moore@wilmerhale.com); (iv) Ad Hoc TL Lender Group, care of their counsel, Gibson,
Dunn & Crutcher LLP, 200 Park Avenue, New York, NY 10166-0193, Attn: Matt J. Williams,
Esq.,     (mjwilliams@gibsondunn.com)          and     AnnElyse     Scarlett    Gains,      Esq.,
(agains@gibsondunn.com); and (v) Greenhill & Co., LLC, 1271 Avenue of the Americas, New
York, NY 10020, Attn: Neil A. Augustine (neil.augustine@greenhill.com), Rupert Hill
(rupert.hill@greenhill.com), Nicholas Drayson (nicholas.drayson@greenhill.com) and Sean
Wright (sean.wright@greenhill.com) so that the Bid is actually received by 12:00 p.m. (Noon)
(ET) on May 4, 2023 (the “Bid Deadline”). The Trustee may (in consultation with the
Consultation Parties) extend the Bid Deadline once or successively but is not obligated to do so.
If the Trustee extends the Bid Deadline, he shall promptly notify all Potential Bidders of such
extension.

        5.     A hearing at which the Trustee will seek approval and authorization of the Sale to
the Successful Bidders (the “Sale Hearing”) is scheduled to be held on May 19, 2023 at 10:00
a.m. (ET), unless otherwise continued by the Trustee pursuant to terms of the Bidding
Procedures Order, before the Honorable Karen B. Owens, United States Bankruptcy Judge, at the
United States Bankruptcy Court for the District of Delaware, Courtroom No. 3, 824 North
Market Street, Wilmington, Delaware 19801. By May 1, 2023, the Trustee shall file and serve
upon counterparties to the Debtors’ executory contracts and unexpired leases (the
“Counterparties”) a notice informing Counterparties that the Debtors’ executory contracts and
unexpired leases may be assumed and assigned, and setting out what the Debtors’ records show
to be the applicable cure amounts, if any (the “Cure Notice”). If any Counterparty wishes to
assert an objection or other response to the Cure Notice, it must file and serve such objection or
other response upon the parties listed in paragraph 6 below on or before May 16, 2023 (the
“Objection Deadline”). The Court shall hold a hearing at the Sale Hearing regarding any
objections to cure amounts and/or assumption and assignment of executory contracts and/or
unexpired leases.

        6.     Objections, if any, to the relief requested at the Sale Hearing as it relates to the
Sale, must: (a) be in writing and filed with the Court, (b) comply with the Bankruptcy Code and
the Federal Rules of Bankruptcy Procedure, and (c) be filed and served on the following parties
by the Objection Deadline (except that objections pursuant to 11 U.S.C. §365(f) may be made at
any time prior to, or at, the Sale Hearing): (i) the Trustee, care of his counsel, Cozen O’Connor,
1201 N. Market St., Ste. 1001, Wilmington, DE 19801, Attn. John T. Carroll, III, Esq.
(jcarroll@cozen.com) and Simon Fraser, Esq. (sfraser@cozen.com); (ii) MidCap Funding IV
Trust, as ABL Agent care of its counsel, Proskauer Rose LLP, One International Place, Boston,
MA 02110, Attn: Charles A. Dale, Esq. (cdale@proskauer.com); (iii) WSFS Institutional
Services as TL Agent, care of its counsel, Wilmer Cutler Pickering Hale and Dorr LLP, 7 World
Trade Center, 250 Greenwich Street, New York, NY 10007, Attn: Andrew N. Goldman, Esq.
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(andrew.goldman@wilmerhale.com)           and         Nathan        J.       Moore,   Esq.
(nathan.moore@wilmerhale.com); (iv) Ad Hoc TL Lender Group, care of their counsel, Gibson,
Dunn & Crutcher LLP, 200 Park Avenue, New York, NY 10166-0193, Attn: Matt J. Williams,
Esq.,    (mjwilliams@gibsondunn.com)        and      AnnElyse       Scarlett   Gains, Esq.
(agains@gibsondunn.com); and (v) the Office of the United States Trustee, 844 King Street,
Suite 2207, Lockbox 35, Wilmington, DE 19081, Attn: Richard Schepacarter, Esq.
(Richard.Schepacarter@usdoj.gov) (collectively, the “Service Parties”).

         7.       This Notice is qualified in its entirety by the Bidding Procedures Order.


Dated: May 1, 2023                                       COZEN O’CONNOR


                                               By:       /s/ John T. Carroll, III
                                                         John T. Carroll, III (DE No. 4060)
                                                         Simon E. Fraser (DE No. 5335)
                                                         1201 N. Market Street
                                                         Suite 1001
                                                         Wilmington, DE 19801
                                                         (302) 295-2000 Phone
                                                         (302) 295-2013 Fax No.
                                                         jcarroll@cozen.com
                                                         sfraser@cozen.com

                                                         Counsel for the Trustee,
                                                         George L. Miller




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